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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                      Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                 Defendant.

    GOVERNMENT’S NOTICE OF EX PARTE, IN CAMERA, CLASSIFIED FILING

       The United States of America hereby gives notice that, on January 30, 2019, the

Government filed, through the Classified Information Security Officer, an ex parte, in camera,

classified addendum to its Opposition to Defendant’s Motion for Approval to Disclose Discovery

Pursuant to Protective Order.

                                                         Respectfully submitted,

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